          Case 1:14-vv-00054-UNJ Document 40 Filed 06/26/15 Page 1 of 7




    In the United States Court of Federal Claims
                             OFFICE OF SPECIAL MASTERS
                                            No. 14-54V
                                       Filed: June 26, 2015

* * * * * * * * * * * * * * * *                               UNPUBLISHED
L.C.,                         *
                              *                               Special Master Hamilton-Fieldman
          Petitioner,         *
                              *                               Joint Stipulation on Damages;
v.                            *                               Influenza (“Flu”) Vaccine;
                              *                               Shoulder Injury Related to Vaccine
SECRETARY OF HEALTH           *                               Administration (“SIRVA”).
AND HUMAN SERVICES,           *
                              *
          Respondent.         *
* * * * * * * * * * * * * * * *

Andrew Downing, Van Cott and Talamante, Phoenix, AZ, for Petitioner.
Michael Milmoe, United States Department of Justice, Washington, D.C., for Respondent.

                                           DECISION 1

       On January 24, 2014, L.C. (“Petitioner”) filed a petition pursuant to the National Vaccine
Injury Compensation Program. 2 42 U.S.C. §§ 300aa-1 to -34 (2006). Petitioner alleged that an
influenza (“flu”) vaccination administered to her on October 29, 2012 caused her to suffer from a
shoulder injury (“SIRVA”).

        On June 16, 2015, the parties filed a stipulation in which they state that a decision should
be entered awarding compensation. Respondent denies that the flu vaccine caused Petitioner’s
SIRVA or any other injury or her current disabilities. Nevertheless, the parties agree to the joint
stipulation, attached hereto as Appendix A. The undersigned finds the stipulation reasonable and
adopts it as the decision of the Court in awarding damages, on the terms set forth therein.

       The parties stipulate that Petitioner shall receive the following compensation:
1
  This Decision was originally filed on June 17, 2015. On June 24, 2015, Petitioner requested a
redaction. The motion was granted in an Order filed on June 25, 2015. In the reissued Decision,
Petitioner’s name is replaced with her initials, and her name is redacted from the attached
stipulation. The remainder of the Decision is unchanged.
2
  The National Vaccine Injury Compensation Program is set forth in Part 2 of the National
Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755, codified as amended,
42 U.S.C. §§ 300aa-1 to -34 (2006) (Vaccine Act or the Act). All citations in this decision to
individual sections of the Vaccine Act are to 42 U.S.C.A. § 300aa.


                                                 1
         Case 1:14-vv-00054-UNJ Document 40 Filed 06/26/15 Page 2 of 7




               A lump sum of $140,000.00 in the form of a check payable to Petitioner. This
               amount represents compensation for all damages that would be available
               under 42 U.S.C. § 300aa-15(a).

       Stipulation ¶ 8.

       The undersigned approves the requested amount for Petitioner’s compensation.
Accordingly, an award should be made consistent with the stipulation.

         In the absence of a motion for review filed pursuant to RCFC Appendix B, the clerk of
the court SHALL ENTER JUDGMENT in accordance with the terms of the parties’
stipulation. 3

       IT IS SO ORDERED.

                                             s/ Lisa Hamilton-Fieldman
                                             Lisa Hamilton-Fieldman
                                             Special Master




3
 Pursuant to Vaccine Rule 11(a), entry of judgment is expedited by the parties’ joint filing of
notice renouncing the right to seek review.


                                                2
Case 1:14-vv-00054-UNJ Document 40 Filed 06/26/15 Page 3 of 7
Case 1:14-vv-00054-UNJ Document 40 Filed 06/26/15 Page 4 of 7
Case 1:14-vv-00054-UNJ Document 40 Filed 06/26/15 Page 5 of 7
Case 1:14-vv-00054-UNJ Document 40 Filed 06/26/15 Page 6 of 7
Case 1:14-vv-00054-UNJ Document 40 Filed 06/26/15 Page 7 of 7
